Case 1:20-cv-10832-AT-SN Document 59-8 Filed 03/11/21 Page 1 of 18

Exhibit H
Case 1:20-cv-10832-AT-SN Document 59-8 Filed 03/11/21 Page 2 of 18

AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Crvil Action

UNITED STATES DISTRICT COURT
for the

Southem District of New York [-]
Securifies and Exchange Commission

 

 

Plaintiff .

Civil Action No. 20 Civ. 10832 (AT)

Ripple Labs, Inc. | Bradley Garlinghouse,
and Christian A. Larsen

Defendant

 

ee

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Citibank, NA.

(Name of person to whom this subpoena is directed)

df Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:coe attachment A hereto

 

 

Place: US. Securities and Exchange Commission Date and Time:
200 Vesey Street, Suite 400
New York, N.Y. 10281 4/12/21 12:00 a.m.

 

 

 

 

5 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena: and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

 

 

3.11.21
Date:
CLERK OF COURT i el
OR 2 \ \ a
Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)

U.S. Securities and Exchange Commission , Who issues or requests this subpoena, are:

Jorge G. Tenreiro & Dugan Bliss, 200 Vesey Street, Suite 400, New York, N.Y. 10281 tenreiroj@sec.gov,
blissd@sec.gov, 212 336 9145 (Tenreio)

 

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
itis directed. Fed. R. Civ. P. 45(a)(4).
Case 1:20-cv-10832-AT-SN Document 59-8 Filed 03/11/21 Page 3 of 18
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 20 Civ. 10832 (AT)

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)
on (date)

 

“ I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) > OF

 

© I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

 

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is tme.

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc.:
Case 1:20-cv-10832-AT-SN Document 59-8 Filed 03/11/21 Page 4 of 18

AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
to attend a tral, tion as follows:
oem 100 paar the person sabe
Te transacts business in person:

sen fs sheds ekeee es pension ssl is employed, or regularly
transacts business in person, if the person

aaanike aie seme aa
(ii) is commanded to attend a tnal and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:
che aaeete of documents, electronically stored information, or
things at a place within 100 miles of where the Tesides, is
Selon or agin cecldcis bannato
(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue — len or Expense; Sanctions. A party or attomey

Tesponsible iile fx ie ——_ serving a must take reasonable steps

to avoid imposing burden or expense on a person subject to the

po sing rg vb cant phy paged meh pes segs must
‘orce this duty and impose an appropriate sancti may include

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fails to comply.

(2) Command to Produce Materials or Pernut Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible thmgs., or to
permut the mspection of premises, need not appear in person at the place of

ee ee
or

(B) Objections. A commanded to documents or ble
een ee ase,

subpoena a written objection to inspecting. testing,
ga ofa emer oo beprng be mens
occa stored information in the or forms
ceca inet be paved belies Svante offae tae for
ee eT ee ee

rules apply:
(i) At any time, on notice to the commanded person, the serving party
none me eicentcematiren eres

compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

3) Quashing or Modifying a Subpoena.
(OS When Required ear atraen te coat hee as thik
compliance is required nmst quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a to comply beyond the geographical limits
specified in Rule 4. 45(0)

GG equres velo of priveged or oer protected mat, if no

webs ects a perton o undue burden

(B) When Permitted. To protect a person subject to or affected by a
subgocin the cont fn: s diphc ieee Cogmpcence ixecaenctaoey: on

motion, the subpoena if it
i ceachouteys trite vaceotor other contieatal vesenach,
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(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party

(© Speching Conditions as on Aleratve In the circumstances
described in 45((3XB), the court may. instead of quashing or

serving
(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.
(e) Duties in Responding to a Subpoena.
(1) Producing Documents or Electronically Stored Information. These
documents

procedures to producing or electronically stored
information:

(A) Documents. A to a subpoena to produce documents
must them as we Kept be edn couse buses
must organize and label to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored In; jon Not

seg cheats doe sobaecity a a form for Se out ces =
nia deadening ie
ily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in One Form. The
person need not produce the same electron stored
information in more than one fom.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide disco of electroni stored infomation
from sources that the person fone act abot ly accessible because
of undue burden or cost. On motion to or for a protective
order, the person ing must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the

suaby shies peal cate, consi me the limitations of Rule
26(b)Q2)(C). The court may specify conditions for the discovery.
(2) Claimng Privilege or Protection.

(A) Information Wi Withheld. A person withholding su information
under a claim that it is privileged or subject to protection as tnal-preparation
material must:

(i) expressly make the claim: and
(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without information itself

privileged or will enable the parties to assess the claim.
(B) Information Produced_If formation

m toa
sa ssp subject to a claim of mean
-preparation material the person the claim may notify any party

that received the information of the claim and the basis for it. After b
notified, a party must promptly retum, sequester, or destroy the
information and any copies it has: nmst not use or disclose the formation
until the claim is resolved; must take reasonable steps to retneve the
information if the disclosed it before notified; and promptly
presen thenfomatin unde sel the ot ries dnanct where
compliance is required for a determination of the claim. The person who
5" i acai aca am

Contempt.

The court te disc where compliance seqired—and als, after a
motion is transferred, the issuing court—may hold in contempt

who, having been served. fails without souk adedeahs eucipa 4s ober
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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ATTACHMENT FOR SUBPOENA ISSUED TO CITIBANK, N.A.

 

March 11, 2021

Definitions

As used in this subpoena, the words and phrases listed below shall have the following
meanings:

i

“Citibank” means Citibank, N_A. and any of its parents, subsidiaries, affiliates,
predecessors, successors, officers, directors, employees, agents, partners, and
independent contractors, as well as aliases, code names, trade names, or business
names used by, or formerly used by, any of the foregoing, including but not
limited to Silicon Valley Bank.

“Ripple” means the entity dome business under the name “Ripple Labs, Inc.,”
including parents, subsidiaries, affiliates, predecessors, successors, officers,
directors, employees, agents, general partners, limited partners, partnerships and
aliases, code names, or trade or business names used by any of the foregoing,
including, for the avoidance of doubt, the entity domg business under the name
XRP I, LLC.

“Garlinghouse” means Bradley Garlinghouse, Ripple’s CEO.
“Larsen” means Christian A. Larsen, Ripple’s former CEO.

“Person” means a natural person, firm, association, organization, partnership,
business, trust, corporation, bank or any other private or public entity-

A “Representative” of a Person means any present or former fanuly members,
officers, executives, partners, jomt-venturers, directors, trustees, employees,
consultants, accountants, attorneys, agents, or any other representative acting or
purporting to act on behalf of the Person.

“Document” shall include, but is not limited to, any written, printed, or typed
matter including, but not limuted to all drafts and copies bearing notations or
marks not found in the original, letters and correspondence, interoffice
communications, slips, tickets, records, worksheets, financial records, accounting
documents, bookkeeping documents, memoranda, reports, manuals, telephone
logs, facsumiles, messages of any type, telephone messages, text messages, voice
mails, tape recordings, notices, instructions, minutes, summaries, notes of
meetings, file folder markings, and any other organizational indicia, purchase
orders, information recorded by photographic process, mcluding microfilm and
microfiche, computer printouts, spreadsheets, and other electronically stored
information, including but not limited to writings, drawings, eraphs, charts,
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photographs, sound recordings, images, and other data or data compilations that
are stored in any medium from which imformation can be retrieved, obtained,
manipulated, or translated.

“Communication” means any correspondence, contact, discussion, e-mail, instant
message, or any other kind of oral or written exchange or transmussion of
information (in the form of facts, ideas, inquiries, or otherwise) and any response
thereto between two or more Persons or entities, including, without limitation, all
telephone conversations, face-to-face meetings or conversations, internal or
external discussions, or exchanges of a Document or Documents.

“Concerning” means directly or indirectly, in whole or in part, describing,
constituting, evidencing, recording, evaluating, substantiating, concerning,
referring to, alluding to, im connection with, commenting on, relating to,
regarding, discussing, showing, describing, analyzing or reflecting.

An “Agreement” means any actual or contemplated (1) written or oral Agreement;
(ii) term or provision of such Agreement; or (11) amendment of any nature or
termination of such Apreement. A request for any Agreement among or between
specified parties includes a request for all Documents Concerning (1) any actual or
contemplated Asreement among or between such parties, whether or not such
Agreement included any other Person; (11) the drafting or negotiation of any such
Agreement; (11) any actual or contemplated demand, request or application for
any such Asreement, and any response thereto; and (iv) any actual or
contemplated objection or refusal to enter into any such Agreement, and any
response thereto.

The term “Reviewed” means examuned, assessed, considered, analyzed or
evaluated.

The term “you” and “your” means the Person to whom or entity to which this
subpoena was issued.

To the extent necessary to bring within the scope of this this subpoena any

information or Documents that might otherwise be construed to be outside its

scope:

the word “or” means “and/or”:

the word “and” means “and/or”:

Cc. the functional words “each,” “every” “any” and “all” shall each be deemed
to include each of the other functional words:

d the masculine gender includes the female gender and the female gender
includes the masculine gender; and

e the singular includes the plural and the plural includes the singular.

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Instructions

Unless otherwise specified, this subpoena calls for production of the original
Documents and all copies and drafts of same. Documents responsive to this
subpoena may be in electronic or paper form. Electronic Documents such as email
should be produced in accordance with the attached Document entitled SEC Data
Delivery Standards. All responsive electronic Documents, including all metadata,
should also be produced in their native software format.

The subpoena does not require that you produce to the Staff of the SEC any
documents you may have previously provided in connection with the
investigation of this matter.

For Documents in paper format, you may send the originals, or, if you prefer, you
may send copies of the originals. The Commission cannot remmburse you for the
copying costs. If you are sending copies, the staff requests that you scan (rather
than photocopy) hard copy Documents and produce them in an electronic format
consistent with the SEC Data Delivery Standards. Alternatively, you may send us
photocopies of the Documents in paper format. If you choose to send copies, you
must secure and retain the originals and store them im a safe place. The staff may

later request or require that you produce the originals.

Whether you scan or photocopy Documents, the copies must be identical to the
originals, imcluding even faint marks or print. Also, please note that if copies of a
Document differ in any way, they are considered separate Documents and you
must send each one. For example, if you have two copies of the same letter, but
only one of them has handwritten notes on it, you must send both the clean copy
and the one with notes.

In producing a photocopy of an original Document that contains post-it(s),
notation flag(s), or other removable markings or attachments which may conceal
all or a portion of the markings contained in the original Document, photocopies
of the original Document both with and without the relevant post-it(s), notation
flag(s), or removable markings or attachments should be produced.

Documents should be produced as they are kept in the ordinary course of business
or be organized and labeled to correspond with the categories in this request. In
that regard, Documents should be produced in a unitized manner, 1-e., delineated
with staples or paper clips to identify the Document boundaries.

Documents should be labeled with sequential numbering (bates-stamped).

You must produce all Documents created during, or Concerning, the time pernods
identified in this subpoena, unless otherwise specified.

The scope of any given request should not be limited or narrowed based on the
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fact that it calls for Documents that are responsive to another request.

You are not required to produce exact duplicates of any Documents that have
been previously produced to the Securities and Exchange Commussion staff in
connection with this matter. If you are not producing Documents based upon a
prior production, please identify the responsive Documents that were previously
produced.

For any Documents that qualify as records of regularly conducted activities under
Federal Rule of Evidence 902(11), please complete a business records
certification (a sample of which is enclosed) and return it with the Document
production.

This subpoena covers all Documents in or subject to your possession, custody or
control, including all Documents that are not in your immediate possession but
that you have the effective ability to obtaim, that are responsive, in whole or in
part, to any of the individual requests set forth below. If, for any reason —
including a claim of attorney-client privilege — you do not produce something
called for by the request, you should subnut a list of what you are not producing.
The list should describe each item separately, noting:

its author(s):

its date;

its subject matter;

the name of the Person who has the item now, or the last Person known to
have it;

the names of everyone who ever had the item or a copy of it, and the
names of everyone who was told the item’s contents;

the basis upon which you are not producing the responsive Document;
the specific request in the subpoena to which the Document relates;
the attorney(s) and the client(s) involved; and

in the case of the work product doctrine, the litigation for which the
Document was prepared in anticipation.

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If Documents responsive to this subpoena no longer exist because they have been
lost, discarded, or otherwise destroyed, you should identify such Documents and
give the date on which they were lost, discarded or destroyed.
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Documents to be Produced

Produce all Documents identified below (electronically, pursuant to the

Commussion’s Data Delivery Standards) for the period of accounting opening to the
present Conceming any account in the name of (including, but not limited to, any known

 

 

 

 

 

 

 

 

 

account numbers listed below):
# Name DOB and/or Address
1 Christian Anton Larsen
2 Bradley Kent
Garlinghouse, Jr.
. 315 Montgomery Street, 2nd Floor
3 Ripple Labs Inc.
San Francisco, CA 94104
: : 315 Montgomery Street, 2nd Floor
4 Ripple Labs Singapore S a
Pte Ltd. San Francisco, CA_94104
315 Montgomery Street, 2nd Floor
5 Ripple Markets Inc.
San Francisco, CA 94104
315 Montgomery Street, 2nd Floor
6 Ripple Services Inc.
San Francisco, CA 94104
315 Montgomery Street, 2nd Floor
‘ nee San Francisco, CA 94104

 

 

 

 

 

Electronic file of all account transaction data in either MS Excel
spreadsheet file format or in a Delimited Text file format witha

preferred delimiter of a vertical bar “|”.

Electronic image of all account opening and authority information
(regardless of date), including but not limited to new account
applications and attachments or exhibits thereto, corporate or partnership
resolutions, and all signature cards, regardless of when created, prepared,
received, or otherwise obtained;

Electronic image of all monthly account statements; and

Electronic image of all supporting documents for all account transactions
in the monthly account statements, including but not limited to the
following: canceled checks (front and back); deposit slips and copies of

the sit items listed on the sit slips: debit and credit notices: drafts

of all manner. cashier’s checks; official checks: money orders: certified
checks: electronic fund transfer notices. wire transfer advices/notices and
wire transfer instructions (including authorizations. memoranda. and

confirmations):

 
Case 1:20-cv-10832-AT-SN Document59-8 Filed OFF EL eed ithe OO 2O-lnd Commission
Data Delivery Standards

 
     

US. Securities and Exchange Commission

  
 
 

Vy 4 iS
eZ ities Biaien ds

This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those

described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
prior to submission. **

 

 

 

RMA SREY NNN eer ct ps es etn a et cal a a lB Reet em lee i et eh tl a reel Re Rr 1
peer prin Kemi i 2S LSE LEIS ESSE LSS EISELE IEEE SEES EEE ES RE ECL LB SOE CSN CR SSR Se ook on ek cnet escheat et ec eter sc acces ceess 2
I. Imaged Productions 3
Be RUN psn acta pce ae a a a a ema taaaat aes easel 3
2. Image Cross-Reference File oo... .ecececeeecesecssoeeseeneecneeeesensneseeentssnereseotscncnasesssnssneensssneestensscnsoseessanesseeessseaeetseseensnatecenanee esses’ 3
Re Nae NN a a aaa 3
AS TEN ese cerca ce eee cana cece a ec are eee arc cele conn RE cra 3
SS: Mane Nain Ge BU a cc i i IC ee eI I ae rey yee Tt 3
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TH. Adobe PDF File Produictioms 222 ..........-eeecesncocseneneseseesesennecsnecanenenencececsssnessussesvaauecausnenensecnesensssessasssinarsvenaenenesceeseateneeneee’ 4
TNE ERMA NRC ce a te os te Sel ares aN Rs Soren as Paani anne ae 4
Ms TA se rs ccs apes on en i aie tee gees hae ae Rt a ret nate os icee ibaa ee te pees aia ae atts cu atreRt Bar, 4
WEE Elie freon: <T ‘acne cara ES cam ch Sn teat i Ay i ha ht ah aS Ne ct 8 4
NH Electronic Phone Recontsss22 Sto SN 4
WIT. Audit Workpapets ence ecececececeeee esos enn ee cneneeesee cece tenestseecsuenetesencacecesssasesaseatssesavsnesauenseeeeeeseasenstsuseneravacenesseceeneesneeteeees 5
TX. Mobile Device Data 22... cece cece ececeeveneesneceneneeensnencneseecesesenzatsnecsvensuenenceceesessasssessanseecazsnanenenenesenessassnsnsusiesasacenesncesneneneececens 5
General Instructions

Due to COVID-19 restrictions the current. temporary mailing address for all physical productions sent to the SEC is:
ENF-CPU, 6315 Bren Mar Drive, Suite 175, Alexandria, VA 22312

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet.
(Note: An Adobe PDF file is pot considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
SEC.

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Data Delivery Standards

 

General requirements for ALL document productions are:

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A cover letter nmust be included with each production and should include the following information:
Case number, case name and requesting SEC staff member name
A list of each piece of media included in the production with its unique production volume number
A list of custodians. identifying the Bates range for each custodian
The time zone in which the emails were standardized during conversion
Whether the production contains native files produced from Mac operating system environments
Data can be produced oa CD. DVD, thumb drive, etc., using the media requiring the least number of deliverables and
labeled with the following:
a. Case number
b. Production date
c. Producing party
d. Bates range (if applicable)
All submissions must be organized by custodian unless otherwise instructed.
All document family groups, i.e. email attachments. embedded files, etc, should be produced together and children files
should follow parent files sequentially in the Bates numbering.
All load-ready collections should include only one data load file and one image pointer file.
All load-ready text must be produced as separate document-level text files.
All load-ready collections should account for custodians in the custodian field.
All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
as separate records.
Audio files should be separated from data files if both are included in the production.

Pan oe

. Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters

are not permitted.

All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pk AES-256-
Cert Deflate compression methods. even if the files are created with 7zip. If you have any questions or need additional
information, please reach out to the requesting SEC staff member.

Electronic productions of 20 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
member. If you do not have your own Secure File Transfer application. you may reach out to the requesting SEC staff member
for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
using file sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.

Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and appropriately
marked as BSA or SAR material, or should be produced separately from other case related material.

Passwords for electronic documents, files. compressed archives and encrypted media must be provided separately either via
email or in a cover letter apart from the media.

All electronic productions should be produced free of computer viruses.

Before producing forensically collected images. parties should reach out to the requesting SEC staff member in order to
discuss appropriate handling.

Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should

teach out to the requesting SEC staff member in order to discuss an appropriate production format.
Additional technical descriptions can be found in the addendum to this document.

*Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
result electronic productions may be damaged.*

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Case 1:20-cv-10832-AT-SN Document 59-8 Filed OFF ed ithe A BEcnb Ec ste ae
Data Delivery Standards

 

Delivery Formats

I. Imaged Productions
The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
standard load files, Bates numbered image files. native files and searchable document-level text files.

1. Images

Black and white images must be 300 DPI Group IV single-page TIFF files

Color images must be produced in JPEG format

File names cannot contain embedded spaces or special characters (including the comma)

Folder names cannot contain embedded spaces or special characters (including the comma)

All image files must have a unique file name, i.e. Bates number

Images must be endorsed with sequential Bates numbers in the lower right corner of each image
The number of image files per folder should not exceed 2.000 files

Excel spreadsheets should have a placeholder image named by the Bates number of the file
AUTOCAD/photograph files should be produced as a single page JPEG file

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2. Image Cross-Reference File
The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
following format:
ImagelID, VoiumeLabel ImageFilePath, DocumentBreak,FolderBreak, BoxBreak,PageCount

3. Data File
The data file (DAT) contains all of the fielded information that will be loaded into the database.

a. The first line of the DAT file must be a header row identifying the field names
b. The DAT file must use the following Concordance® default delimiters:
Comma 4] ASCII character (020)
Quote p ASCII character (254)
Ifthe .DAT file is produced in Unicode format it must contain the byte order marker
Date fields should be provided in the format: mm/dd/yyyy
Date and time fields must be two separate fields
The time zone must be included in all time fields
If the production includes imaged emails and attachments. the attachment fields nmst be included fo preserve the
parent/child relationship between an email and its attachments
An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
storage media. The text file must be named after the FIRSTBATES. Do not include the text in the DAT file.
i. For productions with native files, a LINK field must be included to provide the file path and name of the native file
on the produced storage media. The native file must be named after the FIRSTBATES.
BEGATTACH and ENDATTACH fields must be two separate fields
A complete list of metadata fields is available in Addendum A to this document

remmP an

Pr

4, Text

Text must be produced as separate document-level text files, not as fields within the DAT file. The text files must be named
per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the DAT file. Text files
may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
the redacted version.

5. Linked Native Files
Copies of original email and native file documents/attachments must be included for all electronic productions.
a. Native file documents must be named per the FIRSTBATES number
b. The full path of the native file must be provided in the .DAT file for the LINK field
c. The number of native files per folder should not exceed 2,000 files

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Data Delivery Standards

IL Native File Production without Load Files
With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
in the normal course of business and organized by custodian-named file folders. When approved, native email files (PST or
-MBOX) may be produced. A separate folder should be provided for each custodian.

Iii. Adobe PDF File Production
With prior approval, Adobe PDF files may be produced in native file format.

1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.

2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
characters (including commas).

3. All PDF files nmst contain embedded text that includes all discemible words within the document, not selected text
or image only. This requires all layers of the PDF to be flattened first.

4. IfPDF files are Bates endorsed, the PDF files must be named by the Bates range.

IV. Audio Files
Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
The metadata must include, at a minimum, the following fields:

1) Caller Name: Caller’s name or account/identification number
2) Originating Number: Caller’s phone number

3) Called Party Name: Called party's name

4) Terminating Number: Called party's phone number

5) Date: Date of call
6) Time: Time of call
7) Filename: Filename of audio file

V. ‘Video Files
Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

VI Electronic Trade and Bank Records
When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats:

1. MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset. a
separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
separate document must be provided that includes such details.

2. Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
field structure do not fit in the header. a separate document must be provided that includes such details.

VIE. Electronic Phone Records
When producing electronic phone records, provide the files in the following format:

1. MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
separate document must be provided that includes such details. Data must be formatted in its native format (ie.
dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).

a. The metadata that must be included is outlined in Addendum B of this document. Each field of data nmust be
loaded into a separate column. For example, Date and Start_Time must be produced in separate columms and
not combined info a single column containing both pieces of information. Any fields of data that are provided
in addition to those listed in Addendum B must also be loaded into separate columns.

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VOL Audit Workpapers
The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
business. The laptop must have printing capability, and when possible, the laptop should be configured to enable a Virtual
Machine (VM) environment.

IX. Mobile Device Data

Before producing mobile device data (including but not limited to text messages) parties should reach out to the requesting
SEC staff member in order to discuss the appropriate production format.

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Data Delivery Standards

ADDENDUM A

The metadata of electronic document collections should be extracted and provided in a DAT file using the field definition and

formatting described below-

 

Field Name

Sample Data

Description

 

FIRSTBATES

EDC0000001

First Bates number of native file document/email

 

LASTBATES

EDC0000001

Last Bates number of native file document’email
**The LASTBATES field should be populated
for single page documents/emails.

 

ATTACHRANGE

EDC0000001 - EDC0000015

Bates number of the first page of the parent
document to the Bates number of the last page of the
last attachment “child” document

 

BEGATTACH

EDC0000001

First Bates number of attachment range

 

ENDATTACH

EDC0000015

Last Bates number of attachment range

 

PARENT BATES

EDC0000001

First Bates number of parent document/Email

**This PARENT_BATES field should be populated
in each record representing an attachment “child”
document

 

CHILD BATES

EDC0000002; EDC0000014

First Bates number of “child” attachment(s); can be

more than one Bates number listed depending on the

number of attachments

**The CHILD BATES field should be populated in
each record representing a “parent” document

 

CUSTODIAN

Smith, John

Email: Mailbox where the email resided
Native: Name of the individual or department fron}
whose files the document originated

 

T FROM

John Smith

Email: Sender

Native: Author(s) of document

**semi-colon should be used to separate multiple
entries

 

TO

Coffman, Janice; LeeW
[mailto:LeeW@MSN.com]

Recipient(s)
**semi-colon should be used to separate multiple
entries

 

cc

Frank Thompson [mailto:
frank_Thompson@cdt.com]

Carbon copy recipient(s)
**semi-colon should be used to separate nmltiple
entries

 

John Cain

Blind carbon copy recipient(s)
**semi-colon should be used to separate nmultiple
entries

 

SUBJECT

Board Meeting Minutes

Email: Subject line of the email
Native: Title of document (if available)

 

FILE NAME

BoardMeetingMinutes.docx

Native: Name of the original native file. including
extension

 

DATE_SENT

10/12/2010

Email: Date the email was sent
Native: (empty)

 

TIME_SENT/TIME
_ZONE

07:05 PM GMT

Email: Time the email was sent/ Time zone in whicl}

the emails were standardized during conversion.

Native: (empty)

**This data must be a separate field and cannot be
combined with the DATE SENT field

 

TIME_ZONE

 

 

GMT

 

The time zone in which the emails were standardized
during conversion.
Email: Time zone
Native: (empty)

 

 

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Data Delivery Standards
LINK D:\001\ EDC0000001 msg Hyperlink to the email or native file document
**The linked file must be named per the
FIRSTBATES number
MIME TYPE application/msword The content type of an email or native file document
as identified/extracted from the header
FILE EXTEN MSG The file type extension representing the email or
native file document; will vary depending on the
format
AUTHOR John Smith Email: (empty)
Native: Author of the document
LAST AUTHOR | Jane Doe Email: (empty)
Native: Last Author of the document
DATE_CREATED | 10/10/2010 Email: (empty)
Native: Date the document was created
TIME _CREATED/T| 10:25 AM GMT Email: (empty)
IME ZONE Native: Time the document was created including timd
zone
**This data must be a separate field and cannot be
DATE MOD 10/12/2010 Email: (empty)
Native: Date the document was last modified
TIME MOD/TIME | 07:00 PM GMT Email: (empty)
ZONE Native: Time the document was last modified including
the time zone
mamas **This data must be a separate field and cannot be
DATE_ACCESSD | 10/12/2010 Email: (empty)
Native: Date the document was last accessed
TIME_ACCESSD/T| 07:00 PM GMT Email: (empty)
IME ZONE Native: Time the document was last accessed including
the time zone
**This data must be a separate field and cannot be
PRINTED DATE | 10/12/2010 Email: (empty)
Native: Date the document was last printed
FILE SIZE 5,952 Size of native file document/email in KB
PGCOUNT 1 Number of pages in native file document/email
PATH J:\Shared\Smith]\October Email: (empty)
Agenda.doc Native: Path where native file document was stored
- = 7 including original file name.
INTFILEPATH Personal Folders\Deleted Email: original location of email including origina]
Items\Board Meeting file name.
Minutes. msg Native: (empty)
INTMSGID <000805c2c71b$75977050$cb | Email: Unique Message ID
8306d1 @MSN> Native: (empty)

 

 

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Data Delivery Standards

 

HEADER

Return-Path:
<example_from@dc.edu>
X-SpamCatcher-Score:1[X]
Received:from[136.167.40.119]
(HELO dc.edu)

by fe3.de.edu (CommuniGate
Pro SMTP4.1.8)

with ESMTP-TLS id 61258719
for example_to@mail.dc.edu;
Mon, 23 Aug 2004 11:40:10 4
0400

Message-ID:
<4129F3CA_.2020509 @dc.edu>
Date: Mon, 23 Aug 2005
11:40:36 400

From: Taylor Evang
<example_from@dc.edu>
User-Agent:Mozilla/5.0
(Windows:U; Windows NT 5.1]
en-US:1v-1.0.1)
Gecko/20020823 Netscape/7.0
X-Accept-Language‘en-us.en
MIME-Version:1.0

To: Jon Smith
<example_to@mail.dc.edu>
Subject:Business Developmen}
Meeting

Content-Type:
text/plain:charset=us-ascit;
format=flowed
Content-Transfer-Encoding:7bif

Email: The email header information
Native: (empty)

 

MD5HASH

d131dd02cSe6eec4693d9a069
8aff9Sc
2fcab58712467eab4004583eb
8fb7£89

MD5 Hash value of the document.

 

OCRPATH

 

 

TEXT/001/EDC0000001 txt

 

Path to extracted text of the native file

 

 

Sample Image Cross-Reference File:

 

 

IMGO000001,,E:\001\IMGO000001.TIF,Y,,,
IMG0000002,,E:\001\IMG0000002.TIF,,,,
IMGO000003,,E:\001\IMG0000003.TIF,,,,
IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
IMGO000005,,E:\001\IMG0000005.TIF,Y,,,
IMG0000006,,E:\001\IMGO000006.TIF,,,,

 

 

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Data Delivery Standards

 

ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:
For Calls:

1) Account Number

2) Connection Date — Date the call was received or made

3) Connection Time — Time call was received or made

4) Seizure Time — Time it took for the call to be placed in seconds

5) Originating Number — Phone that placed the call

6) Terminating Number — Phone that received the call

7) Elapsed Time — The length of time the call lasted, preferably in seconds
8) End Time — The time the call ended

9) Number Dialed — Actual number dialed

10) IMEI Originating — Unique id to phone used to make call

11) IMEI Terminating— Unique id to phone used to receive call

12) IMSI Originating — Unique id to phone used to make call

13) IMSI Terminating- Unique id to phone used to receive call

14) Call Codes — Identify call direction or other routing information

15) Time Zone — Time Zone in which the call was received or placed, if applicable

For Text messages:

1) Account Number

2) Connection Date — Date the text was received or made

3) Connection Time — Time text was received or made

4) Originating Number — Who placed the text

5) Terminating Number — Who received the text

6) IMEI Originating — Unique id to phone used to make text

7) IMEI Terminating— Unique id to phone used to receive text

8) IMSI Originating - Unique id to phone used to make text

9) IMSI Terminating- Unique id to phone used to receive text

10) Text Code — Identify text direction. or other text routing information
11) Text Type Code — Type of text message (sent SMS. MMS, or other)
12) Time Zone — Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:

1) Account Number

2) Connection Date — Date the data was received or made

3) Connection Time — Time data was received or made

4) Originating number — Number that used data

5) IMEI Originating — Unique id of phone that used data

6) IMSI Onginating - Unique id of phone that used data

7) Data or Data codes — Identify data direction. or other data routing information
8) Time Zone — Time Zone in which the call was received or placed, if applicable

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